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                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF OKLAHOMA

                                                  :
William Bumpas,                                   :
                                                  :
                                                  : Civil Action No.: 5:15-cv-00258-HE
                       Plaintiff,                 :
       v.                                         :
                                                  :
Diversified Adjustment Service, Inc. ; and        :
DOES 1-10, inclusive,                             :
                                                  :
                       Defendant.                 :

            NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                    DISMISSAL OF ACTION WITH PREJUDICE
                           PURSUANT TO RULE 41(a)

       William Bumpas (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the complaint
and voluntarily dismisses this action, with prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

Dated: October 2, 2015

                                                             Respectfully submitted,


                                                             By: /s/ Sergei Lemberg

                                                             Sergei Lemberg, Esq.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 2, 2015, a true and correct copy of the foregoing Notice
of Withdrawal was served electronically by the U.S. District Court for the Western District of
Oklahoma Electronic Document Filing System (ECF) and that the document is available on the
ECF system.

                                             By_/s/ Sergei Lemberg_________

                                                  Sergei Lemberg
